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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Christopher Moehrl
                                                Plaintiff,
v.                                                            Case No.: 1:19−cv−01610
                                                              Honorable Andrea R. Wood
The National Association of Realtors, et al.
                                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 15, 2019:


       MINUTE entry before the Honorable Andrea R. Wood: Attorney applications to
appear pro hac vice [27], [28], [29], [37], [39], and [40] are granted. Mailed notice(ef, )




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